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 1   Dwight M. Samuel (SBN 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
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 3   (916) 447-1193, DwightSamuelatty@yahoo.com
 4
     Attorney for Defendant
 5   BALKAR SINGH

 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                         No. 2:13-cr-0006 MCE
11                                           )
                                Plaintiff,            STIPULATION AND ORDER TO
12
                                                      CONTINUE STATUS CONFERENCE
          v.
13
14   BALKAR SINGH, et, al.,
15                           Defendants.
16
17          Defendant BALKAR SINGH, by and through his counsel of record, Plaintiff United
18   States of America, by and through its counsel of record, and defendants, by and through
19
     their counsel of record, hereby stipulate as follows:
20
            1. The Court previously continued this matter to November 6, 2014.
21
            2. By this stipulation, defendants now move to continue the status conference until
22
23   December 4, 2014, and to exclude time between November 6, 2014, and December 4,

24   2014, at 9:00 AM, under Local Code T4.

25          3. The parties agree and stipulate, and request that the Court find the following:
26                 A. Presently there are four defendant’s remaining.
27
                   B. Each of the four defendants is engaged in significant plea negotiations and
28
     it is anticipated that all defendants will enter pleas.
                                                        1
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 1                  C. Defendant’s are not english speakers and the number of Punjabi
 2   interpreters is limited.
 3
                    D. Immigration issues are complex.
 4
                    E. At least two of the defendant’s must rely upon others for transportation to
 5
     Sacramento.
 6
 7          4. All parties believe that failure to grant the above-requested continuance would

 8   deny them the reasonable time necessary for effective preparation, taking into account the

 9   exercise of due diligence.
10
            5. The government does not object to the continuance.
11
            6. Base on the above-stated findings, the ends of justice served by continuing the
12
     case as requested outweigh the interest of the public and the defendant in trial within the
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     original date prescribed by the Speedy Trial Act.
14
15          7. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

16   et seq., within which trial must commence, the time period of November 6, 2014 to
17   December 4, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161 (h)(7)(A),
18
     B(iv) [Local Code T4] because it results from a continuance granted by the Court at
19
     defendant’s request on the basis of Court’s finding that the ends of justice served by taking
20
     such action outweigh the best interest of the public and the defendant at speedy trial.
21
22          8. Nothing in this stipulation and order shall preclude a finding that other provisions

23   of the Speedy Trial Act dictate that additional time periods are excludable from the period

24   within which a trial must commence.
25   IT IS SO STIPULATED.
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                                                            Respectfully submitted,
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            Dated: November 3, 2014                         By: /s/ Dwight M Samuel
28                                                          DWIGHT SAMUEL

                                                    2
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 1                                                           Attorney for Defendant
                                                             BALKAR SINGH
 2
 3           Dated: November 3, 2014                         BENJAMIN WAGNER
 4                                                           United States Attorney
                                                               /s/ Dwight M Samuel for
 5                                                           JARED C. DOLAN
                                                             Assistant U.S. Attorney
 6
 7           Dated: November 3, 2014                           /s/ Dwight M Samuel for
 8                                                           MICHAEL BIGELOW
                                                             Attorney for Defendant
 9                                                           HARVINDER KAUR

10           Dated: November 3, 2014                           /s/ Dwight M Samuel for
                                                             A. STANLEY KUBOCHI
11
                                                             Attorney for Defendant
12                                                           SUKHWINDER KAUR

13
             Dated: November 3, 2014                           /s/ Dwight M Samuel for
14                                                           DAVID DELMER FISCHER
                                                             Attorney for Defendant
15
                                                             AVTAR KAUR BAINS
16
17
18                                              ORDER
19
             For the reasons set forth in the foregoing Stipulation of Counsel, IT IS ORDERED
20
21   THAT:

22           The Status Conference now set for November 6, 2014, at 9:00 a.m. is VACATED,

23   and the above-captioned matter is set for Status Conference on December 4, 2014, at 9:00

24   a.m.

25           The Court finds excludable time in this matter through December 4, 2014, under 18

26   U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity of counsel and

27   reasonable time necessary for effective defense preparation. For the reasons stipulated by

28   the parties, the Court further finds that the interest of justice served by granting the request


                                                     3
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 1
     outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
 2
     §3161(h)(7)(B)(iv) and Local Code T4.
 3
           IT IS SO ORDERED.
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     Dated: November 4, 2014
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